Case 2:05-cv-02371-.]DB-dkv Document 11 Filed 06/30/05 PaQelofS Page 6

IN THE UNITED sTATES DIsTRIcT CoURT HEB BY .. D-¢-
FOR THE wEsTERN DISTRICT oF TENNESSEE
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coMPANY LP, ) 115-§ m
) w § i='d. bit
Plaimiff, ) CIVIL ACTION
) No. 05-2371 Bv
vs. )
)
WARREN UNILUBE, INC., )
)
Defendant. )

ORDER OF SPECIAL ADMISSION
It appears to the Co\.u't that the motion for BENJAM]N N. THOMPSON, Esq., for
Specia} Admission Pro Hac Vice is well taiten and should be granted Accordingly, the
Motion is hereby GRANTED, and BENJAMIN N. THOMPSON, Esq. is admitted pro '
hac vice for the purpose of representing the Defendant, Warren Unilube, Inc. in this

action.

IT IS SO ORDERED.

/
DATED; f¢¢'.SO[ O‘\>

 

ni ed States District Judge

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Honorable .1. Breen
US DISTRICT COURT

